         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 1 of 8



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE COMMISSION,

                       Plaintiff,




DOUGLAS LEIGHTON,                                             Case No. l:20-cv-10686
AZURE CAPITAL CORP.,
BASS POINT CAPITAL, LLC,
MICHAEL SULLIVAN,
DAVID HALL,
ZACHARY HARVEY,
PAUL DUTRA,
JASON HARMAN, and
JESSICA GERAN,

                       Defendants.



                    FINAL JUDGMENT AS TO DEFENDANT MICHAEL SULLIVAN


       The Securities and Exchange Commission having filed a Complaint and Defendant

Michael Sullivan having entered a general appearance; consented to the Court's jurisdiction over

Defendant and the subject matter of this action; consented to entry of this Final Judgment

without admitting or denying the allegations of the Complaint (except as to jurisdiction and

except as otherwise provided herein in paragraph VIII); waived findings of fact and conclusions

of law; and waived any right to appeal from this Final Judgment:

                                                 1.


       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the "Securities Act") [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the
          Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 2 of 8




mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstancesunder which they were made, not misleading;

                or



        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 II.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 9(a)(2) of the Securities and

Exchange Act of 1934 ("Exchange Act") [15 U.S.C. § 78(i)] by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security: To effect, alone or

with one or more other persons, a series of transactions in any security registered on a national

securities exchange creating actual or apparent active trading in such security or raising or

depressing the price of such security, for the purpose of inducing the purchase or sale of such

security by others.
         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 3 of 8



        IT IS FURTHERORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of CivilProcedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                III.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

permanentlyrestrained and enjoined from violating Section 13(d)of the ExchangeAct

[15 U.S.C. § 78m(d)] and Rule 13d-l promulgated thereunder [17 C.F.R. § 240.13d-l] by failing

to file with the Commission a statement containingthe informationrequired by Schedule 13D (as

provided in 17 C.F.R. § 240.13d-101), within 10 days after acquiring directly or indirectlythe

beneficial ownership of more than five percent of any equity security of a class which is

specified in Exchange Act Rule 13d-l(i) [17 C.F.R. § 240.13d-l(i)].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                IV.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly. Section 16(a) of the

Exchange Act [15 U.S.C. § 78p(a)] and Rule 16a-3 promulgated thereunder [17 C.F.R.

§ 240.16a-3] by failing to file information, documents, and reports as required pursuant to

Section 16(a) of the Exchange Act and Rule 16a-3, in the absence of any applicable exemption.
         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 4 of 8



when Defendant is, directly or indirectly, the beneficial owner of more than 10percent of any

class of any equitysecurity (other than an exempted security) which is registered pursuant to

Section 12 of the Exchange Act [15 U.S.C. § 781], or is a director or an officer of an issuer of

such security.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

FederalRule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant's

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 V.


       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is barred, for a period of five years, from participatingin an offering of penny stock, including

engaging in activities with a broker, dealer, or issuer for purposes of issuing, trading, or inducing

or attempting to induce the purchase or sale of any penny stock. A penny stock is any equity

security that has a price of less than five dollars, except as provided in Rule 3a51-l under the

Exchange Act [17 C.F.R. 240.3a51-l].

                                                VI.


       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is liable for disgorgement of $51,180, representing profits gained as a result of the conduct

alleged in the Complaint, together with prejudgment interest thereon in the amount of

$12,047.72, and a civil penalty in the amount of $40,000 pursuant to 15 U.S.C. § 77t(d) and 15

U.S.C. § 78u(d). Defendant shall satisfy this obligation by pajdng $103,227.72 to the Securities

and Exchange Commission pursuant to the terms of the payment schedule set forth in paragraph

VII below after entry of this Final Judgment.
         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 5 of 8



        Defendant may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofrn.htm. Defendant may also pay by certified check, bank

cashier's check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Michael Sullivan as a defendant in this action; and specifying that payment is made

pursuant to this Final Judgment.

       Defendant shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission's counsel in this action. By making this payment,

Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendant.


       The Commission may enforce the Court's judgment by moving for civil contempt (and/or

through other collection procedures authorized by law) at any time after 30 days following entry

of this Final Judgment. Defendant shall pay post judgment interest on any delinquent amounts

pursuant to 28 U.S.C. § 1961. The Commission shall hold the funds, together with any interest

and income earned thereon (collectively, the "Fund"), pending further order of the Court.

       The Commission may propose a plan to distribute the Fund subject to the Court's

approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain
         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 6 of 8



jurisdiction over the administration of any distribution of the Fund. If the Commission staff

determines that the Fund will notbe distributed, the Commission shall send the funds paid

pursuant to this Final Judgment to the United States Treasury.

        Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

government for all purposes, including all tax purposes. To preserve the deterrent effect of the

civil penalty. Defendant shall not, after offsetor reduction of any awardof compensatory

damages in any RelatedInvestorAction based on Defendant's payment of disgorgement in this

action, argue that he is entitled to, nor shall he further benefit by, offset or reduction of such

compensatory damages award by the amount of any part of Defendant's payment of a civil

penalty in this action ("Penalty Offset"). If the court in any Related Investor Action grants such

a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

Offset, notify the Commission's counsel in this action and pay the amount of the Penalty Offset

to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

not be deemed an additional civil penalty and shall not be deemed to change the amount of the

civil penalty imposed in this Judgment. For purposes of this paragraph, a "Related Investor

Action" means a private damages action brought against Defendant by or on behalf of one or

more investors based on substantially the same facts as alleged in the Complaint in this action.

                                                 VII.


       Defendant shall pay the total of disgorgement, prejudgment interest, and civil penalty due

of $103,272.72 in five installments to the Commission according to the following schedule:

(1) $15,000, within 30 days of entry of this Final Judgment; (2) $22,056.93 within 90 days of

entry of this Final Judgment; (3) $22,056.93 within 180 days of entry of this Final Judgment;

(4) $22,056.93 within 270 days of entry of this Final Judgment; and (5) $22,056.93 within
         Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 7 of 8



360 days of entry ofthis Final Judgment. Payments shall bedeemed made onthe date they are

received by the Commission andshall be applied first to post-judgment interest, which accrues

pursuant to 28 U.S.C. § 1961 on any unpaid amounts due after30 days of the entryof Final

Judgment. Prior to making the final payment set forth herein, Defendant shall contact the staff of

the Commission for the amount due for the final payment.

            If Defendantfails to make any payment by the date agreed and/or in the amount

agreed according to the schedule set forth above, all outstanding payments under this Final

Judgment, including post-judgment interest, minus any payments made, shall become due and

payableimmediately at the discretion of the staff of the Commission withoutfurther application

to the Court.


                                               VIII.


        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal

securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                IX.


       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.
          Case 1:20-cv-10686-RGS Document 17 Filed 06/03/20 Page 8 of 8




                                                 X.


         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.




Dated:



                                              "UNITED STATES DISTRICT KJDGE
